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         EXHIBIT
            3
DocuSign Envelope ID: 3C8616F1-E9A2-4D33-90D8-A4E46A7D5EE0
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                                                                                        John P. Kristensen
                                                                                       Jesenia A. M artinez




                                           CONSENT FORM FOR W AGE CLAIM

            Printed Nam e: Kelsey Johansen

               M ARLONESHA BECKER, individually and on behalf of all others sim ilarly situated,
                                                        Plaintiff,
                                                           vs.
               KAM Y KESHM IRI, an individual; JAM Y KESHM IRI, an individual; FANTASY GIRLS,
              LLC, a Nevada lim ited liability corporation; DOE M ANAGERS 1-3; and DOES 4-100,
                                                inclusive, Defendants.
                                                 District of Nevada
                                    Case No. : 3: 19-cv-00602-LRH-W GC

            1.     I consent and agree to be represented by Kristensen LLP, Hughes Ellzey,
            LLP and The O’M ara Law Firm and to pursue m y claim s of unpaid overtim e
            and/or m inim um wage and/or im proper Tip Pooling through the lawsuit filed
            against m y em ployer, Fantasy Girls, under the Fair Labor Standards Act and/or
            applicable state laws.

            2.      I intend to pursue m y claim individually, unless and until the court certifies
            this case as a collective or class action. I agree to serve as the class
            representative if the court approves. If som eone else serves as the class
            representative, then I designate the class representatives as m y agents to m ake
            decisions on m y behalf concerning the litigation, the m ethod and m anner of
            conducting the litigation, the entering of an agreem ent with the plaintiffs' counsel
            concerning attorney's fees and costs, and all other m atters pertaining to this
            lawsuit.

            3.    To the best of m y knowledge, I m eet the following criteria: I worked for
            Fantasy Girls as a dancer from approxim ately Decem ber 2018 to the present

            4.      If m y consent form is stricken or if I am for any reason not allowed to
            participate in this case, I authorize Plaintiffs’ counsel to use this Consent Form to
            re-file m y claim s in a separate or related action against m y em ployer.
                                                                      8/24/2020
            (Signature) __________________________ (Date Signed) _____________________
                        Kelsey Johansen




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